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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

QUINTA SANDERS,                    )
                                   )
       Plaintiff,                  )
                                   )
vs.                                ) Case No.: 1:18-CV-00269
                                   )
MISSISSIPPI COUNTY, MISSOURI, CITY )
OF CHARLESTON, MISSOURI, CORY      )
HUTCHESON, SALLY YANEZ, RYAN       )
HILL, JOE ROSS, JOSH MALDONADO,    )
DECOTA MCGLOTHLIN, FAITH           )
ALTAMIRANO, ROBERT HEARNES,        )
CURTIS ARNOLD, ZACHARY MATNEY, )
AND AUSTIN HENSON,                 )
                                   )
       Defendants.                 )


   DEFENDANT CORY HUTCHESON’S MEMORANDUM IN
 SUPPORT OF HIS MOTION FOR LEAVE TO FILE MOTION TO
DETERMINE SUFFICIENCY OF PLAINTIFF’S RESPONSES TO
MISSISSIPPI COUNTY DEFENDANTS AND DEFENDANT CORY
  HUTCHESON’S JOINT FIRST REQUESTS FOR ADMISSION
AND MOTION TO COMPEL INTERROGATORY ANSWERS WITH
                EXHIBITS UNDER SEAL

        COME NOW, Cory Hutcheson (“Defendant Hutcheson”), and for his Memorandum in

Support, states:

                                   STANDARD OF REVIEW

        A district court’s determination to seal filings is reviewed for an abuse of discretion. IDT

Corp v. eBay, Inc., 709 F.3d 1220, 1223 (8th Cir. 2013) (internal citation omitted).




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                                           DISCUSSION

        This Court’s first inquiry is whether the proposed submissions are considered “judicial

records.” Laughlin v. Stuart, No. 19-cv-2547 (ECT/TNL), 2021 U.S. Dist. LEXIS 69356, at *6

(D. Minn. Apr. 9, 2021). “[T]he Eighth Circuit has recognized ‘a modern trend in federal cases

to treat pleadings in civil litigation (other than discovery motions and accompanying exhibits) as

presumptively public, even when the case is pending before judgment.” Id. (internal citations

omitted) (emphasis from Laughlin); see also Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33

n.19 (1984) (“Jurisdictions that require filing of discovery materials customarily provide that

trial courts may order that the materials not be filed or that they be filed under seal.”) (citing Fed.

R. Civ. P. 26(c) and other sources); Kamakana v. City & County of Honolulu, 447 F.3d 1172,

1179 (9th Cir. 2009) (“The public policies that support the right of access to dispositive motions,

and related materials, do not apply with equal force to non-dispositive materials.”) (internal

citation omitted); Baxter Int'l, Inc. v. Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002) (“Secrecy

is fine at the discovery stage, before the material enters the judicial record); Orthopaedic Hosp.

v. DJO Glob., Inc., No. 3:19-cv-00970-JLS-AHG, 2020 U.S. Dist. LEXIS 240913, at *3 (S.D.

Cal. Dec. 22, 2020) (“For discovery documents attached to non-dispositive motions, ‘the usual

presumption of the public’s right of access is rebutted.’”) (internal citations omitted).

        Here, granting leave to allow the parties to file the motion to determine sufficiency /

compel briefing and exhibits under seal is supported by good cause as it would serve to protect

the parties from annoyance, embarrassment, and oppression based on the contents of what is

being requested and the potential answers to those requests. The sensitive information is

supported by the motion, memorandum in support, and accompanying exhibits/discovery




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materials. Examples of information pertain to autopsy records, portions of autopsy photographs,

and other sensitive information.

        WHEREFORE, Defendant Hutcheson respectfully request that this Court grant leave

such that the parties may file briefing and accompanying exhibits/discovery materials pertaining

to the determination of the sufficiency of Plaintiff’s responses to requests for admission and

regarding whether Plaintiff should be compelled to respond to interrogatories, and for such

further relief this Court deems just and proper.



                                                   /s/ Robert T. Plunkert
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       I hereby certify that a copy of the foregoing filed electronically with the Clerk of the
Court to be served by operation of the Court's electronic filing system upon the following or U.S.
mail for parties not registered with CM/ECF, on this 29th day of April, 2021:

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                                                /s/ Robert T. Plunkert




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